
INZER, Justice:
This is an appeal by John Hart, Jr. and his wife, Josie Hart, from a decree of the Chancery Court of Harrison County, wherein the court sustained a general demurrer to appellants’ bill of complaint seeking an injunction to enjoin appellees from foreclosing a certain deed of trust.
It is agreed by all parties that the sole question to be determined on this appeal is the constitutionality of Chapter 170, Mississippi Laws of 1958, Mississippi Code Annotated section 5591-01 through section 5591-54 (Supp.1964), known as the Small Loan Regulatory Act. The disposition of this case is controlled by our decision in Giles v. Friendly Finance Company of Biloxi, 185 So.2d 659, this day decided, wherein we held that the Small Loan Regulatory Act is constitutional. Therefore, this case must be affirmed.
Affirmed.
GILLESPIE, P. J., and RODGERS, JONES and SMITH, JJ., concur.
